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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

NORTHWEST BIOTHERAPEUTICS, INC.,

                      Plaintiff,

       v.

CANACCORD GENUITY LLC, CITADEL
                                                         Case No. 1:22-cv-10185 (GHW) (GWG)
SECURITIES LLC, G1 EXECUTION
SERVICES LLC, GTS SECURITIES LLC,
INSTINET LLC, LIME TRADING CORP.,
AND VIRTU AMERICAS LLC,

                      Defendants.




                                     NOTICE OF MOTION

       PLEASE TAKE NOTICE that upon the accompanying memorandum of law, the

Declaration of William A. Burck and the exhibits attached thereto, and any other arguments or

materials that the Court may consider before this motion is taken under submission by the Court,

Defendants Canaccord Genuity LLC, Citadel Securities LLC, G1 Execution Services LLC, GTS

Securities LLC, Instinet LLC, Lime Trading Corp., and Virtu Americas LLC will jointly move

this Court, before the Honorable Gabriel W. Gorenstein, at the United States Courthouse for the

Southern District of New York, 500 Pearl Street, New York, New York 10007, at a date and time

to be set by the Court, for an order (i) pursuant to Federal Rule of Civil Procedure 12(b)(6) and the

Private Securities Litigation Reform Act, dismissing the Amended Complaint (ECF No. 95); and

(ii) granting all such other and further relief as this Court may deem just and proper.
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       Opposition and reply papers are to be filed pursuant to the Court’s Order (ECF No. 109)

and Rule 6.1 of the Local Rules of the United States District Court for the Southern District of

New York.




 Dated: July 12, 2023                              Respectfully submitted,
        New York, New York
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